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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: PACKAGED SEAFOOD                            Case No.: 15-MD-2670 JLS (MDD)
12   PRODUCTS ANTITRUST LITIGATION
                                                        ORDER GRANTING END PAYER
13                                                      PLAINTIFFS’ UNOPPOSED
                                                        MOTION
14
                                                        (ECF No. 1104)
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16         Presently before the Court is an unopposed Motion by End Payer Plaintiffs,
17   (“EPPs”), (“MTN,” ECF No. 1104). EPPs seek a modification of the scheduling order to:
18   (1) provide a substitute proposed class representative for those consumers of Packaged
19   Tuna in Minnesota, the state in which the now deceased named plaintiff Katherine Larson
20   was named as the proposed class representative, and (2) allow for the withdrawal and
21   dismissal of three named plaintiffs (Kaitlyn Rooney, Jessica Decker and Joseph A.
22   Langston) pursuant to their request. (Id. at 2.)
23         As to the first request, named plaintiff Larson has died and EPPs filed a Statement
24   of Fact of Death on April 2, 2018. (ECF No. 883). EPPs seek to substitute in Robert Etten,
25   who is “a similarly situated Minnesota resident and class member, purchased packaged
26   tuna during the class period at prices fixed as a result of Defendants’ conduct, and as a
27   result, has the same claims as [Larson] for conspiracy to fix prices promulgated under the
28   antitrust and consumer protection laws of the state of Minnesota.” (MTN 3.) EPPs also

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 1   state Mr. Etten “is prepared to have his specific information demonstrating the typicality
 2   of his claims and his adequacy to serve as a class representative included in EPPs’ Motion
 3   for Class Certification” which was recently filed. (Id.)
 4          As to the second request, “three of the seventy-three named plaintiffs—Jessica
 5   Decker of Michigan, Joseph A. Langston of Arkansas, and Kaitlyn Rooney of the District
 6   of Columbia (“D.C.”)—are no longer able serve as named plaintiffs for personal reasons
 7   unique to each of them.” (Id.) EPPs state there is no prejudice to Defendants in allowing
 8   these consumers to exit this litigation. Further, “[m]ultiple named plaintiffs remain active
 9   proposed class representatives in each of the states of the three withdrawing plaintiffs.”
10   (Id. at 4.)
11          EPPs acknowledge they seek to add a named plaintiff and withdraw others after the
12   deadline in the Court’s pretrial scheduling order has passed. The Court finds that good
13   cause exists to modify the pretrial scheduling order. See Fed. R. Civ. P. 16(b)(4).
14          The Court GRANTS EPPs Motion. The Court PERMITS the withdrawal and
15   voluntary dismissal of the individual claims and underlying individual cases of
16   withdrawing named plaintiffs Jessica Decker, Joseph A. Langston, and Kaitlyn Rooney.
17   The Court PERMITS the substitution of Robert Etten into this action as a named plaintiff.
18   EPPs MAY amend the First Amended Complaint (“FAC,” ECF No. 888) to remove Jessica
19   Decker, Joseph A. Langston, Katherine Larson, and Kaitlyn Rooney as named plaintiffs
20   (see FAC ¶¶ 22, 44, 45, 63), and add Robert Etten as a named plaintiff.
21          Accordingly, the hearing for this Motion set for July 30, 2018 at 1:30 p.m. is
22   VACATED.
23          IT IS SO ORDERED.
24   Dated: May 31, 2018
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